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                    EXHIBIT A
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        1           IN THE UNITED STATES DISTRICT COURT
        2         FOR THE SOUTHERN DISTRICT OF ILLINOIS
        3

        4                 CIVIL ACTION NO. 17-CV-793-MJR-SCW
        5

        6    IN RE: DEPAKOTE CASES
        7    A.S. by MARTHEE SANSONE, ET AL.,
        8                       Plaintiff,
        9    vs.
       10    ABBOTT LABORATORIES, INC.,
       11                       Defendant.
       12

       13

       14

       15                              DEPOSITION
       16                                    OF
       17                    NATHANIEL H. ROBIN, M.D.
       18                         December 8, 2017
       19

       20

       21

       22

       23    REPORTED BY: Heather Spier
       24                         Certified Court Reporter,
       25                         and Notary Public
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        1    there are a lot of -- I'm referring to his
        2    answer I guess.            You know, I breezed
        3    through them.           My -- my role in the case
        4    is fairly focused, so I kind of look for
        5    things that are relevant to the question
        6    I'm being asked.
        7              Q.       I think previously you
        8    testified that you view yourself as having
        9    a narrowly focused area of expertise that
       10    you I think you referred to as a tiny
       11    island?
       12              A.       Perhaps I did.
       13              Q.       That sounds accurate?
       14              A.       Yes.
       15              Q.       In order to ascertain what
       16    would be relevant in all those records
       17    that were attached to Ms. Sansone's
       18    deposition, how did you do that?
       19              A.       Well, the question before me
       20    is to determine if -- to determine if the
       21    child's problems are due to exposure,
       22    prenatal exposure, to valproic acid.                        So
       23    the things I look for are things that
       24    relate to understanding the autism
       25    spectrum of the problems and then whether
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        1    or not the woman was taking -- the mother,
        2    Ms. Sansone, was taking valproic acid, and
        3    anything relevant to family history.
        4                       So often medical records --
        5    these kind of medical records contain lots
        6    and lots of information about regular
        7    office visits and such.                 And, you know, I
        8    just skim over those.
        9              Q.       Did you -- when you say you
       10    skimmed over some records --
       11              A.       I mean, I skim over them all.
       12              Q.       Okay.      Perhaps that last
       13    answer is what I was looking for.                       You
       14    did, in fact, look at all pages of the
       15    records?
       16              A.       Yes.
       17              Q.       But you -- if you saw
       18    something -- if you saw that it didn't
       19    appear to have anything germane to those
       20    points you just went through, you didn't
       21    linger on that particular page and just
       22    kept going?
       23              A.       Correct.        Or if -- correct.
       24              Q.       Right.       And if you did see
       25    something that was germane either to
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        1    relates to when this report was prepared.
        2              Q.       I understand.           But at least in
        3    terms of what you put in your report --
        4              A.       Yes, you're correct.
        5              Q.       So the photographs are not
        6    shown as a basis of your opinions?
        7              A.       Correct.
        8              Q.       Now, you talk about clinical
        9    genetics in Paragraph 1.2, and you refer
       10    to diagnostic services that are provided
       11    by clinical geneticists, right?
       12              A.       Yes.
       13              Q.       What are the tools that
       14    clinical geneticists use to provide their
       15    diagnostic services?
       16              A.       History, family history,
       17    clinical exam, laboratory testing.                       And I
       18    guess I should include review of records.
       19              Q.       Now, you said history, family
       20    history.        Is there a distinction there?
       21              A.       Yes.      History is that
       22    individual's medical history.                    Family
       23    history is the family history.
       24              Q.       All right.         The history,
       25    medical history, could be either as
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